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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
         v.                                   :      No. 22-cr-290-APM
                                              :
KELLYE SORELLE,                               :
                                              :
                       Defendant.             :

                   JOINT MOTION TO CONTINUE PLEA HEARING
                  AND EXCLUDE TIME UNDER SPEEDY TRIAL ACT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby files the parties’ joint motion to continue the plea hearing,

scheduled for Wednesday, July 17, 2024. The parties request the Court reschedule the plea hearing

for Wednesday, August 21, 2024, and to exclude time under the Speedy Trial Act.

       The parties jointly submit that it is in the interests of justice to exclude the time between

July 17, 2024, to August 21, 2024, under the Speedy Trial Act, so that the Court and the parties can

arrange for a guilty plea hearing. Defendant SoRelle has been advised of her right to a speedy trial

and agrees to exclude time under the Speedy Trial Act until August 21, 2024.
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       WHEREFORE, the United States respectfully requests, jointly on behalf of the parties, that

the Court reschedule this week’s plea hearing to August 21, 2024.


                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar No. 481052

                             By:                   /s/
                                            Kathryn L. Rakoczy
                                            Assistant United States Attorney
                                            D.C. Bar No. 994559

                                                    /s/
                                            Eli J. Ross
                                            Assistant United States Attorney
                                            IL Bar No. 6321411

                                                   /s/
                                            Kathryn L. Rakoczy
                                            Assistant United States Attorney
                                            PA Bar No. 320922
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